                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                         DOCKET NO. 3:16-cr-00074-MOC-DSC

 UNITED STATES OF AMERICA,                     )
                                               )
                                               )
                                               )
 Vs.                                           )                       ORDER
                                               )
 JERITON LAVAR CURRY,                          )
                                               )
                 Defendant.                    )



       THIS MATTER is before the court on review of a letter (#169) to the court from

defendant, submitted while he was represented by counsel. While defendant makes far ranging

allegations in such seven-page letter, it appears that he is contending that he entered his plea

unknowingly and involuntarily. In United States v. Moore, 931 F.2d 245 (4th Cir. 1991), the

Fourth Circuit held:

       (1) whether the defendant has offered credible evidence that his plea was not
       knowing or not voluntary, (2) whether the defendant has credibly asserted his legal
       innocence, (3) whether there has been a delay between the entering of the plea and
       the filing of the motion, (4) whether defendant has had close assistance of
       competent counsel, (5) whether withdrawal will cause prejudice to the government,
       and (6) whether it will inconvenience the court and waste judicial resources.

Id. at 248. While the court will refer this matter for hearing by the magistrate judge who accepted

the plea, the court notes that such letter was submitted some two months after defendant’s Plea of

Guilty was accepted by Judge Cayer and little more than one week after the Draft Presentence

Report (#175) was filed, facts which bear on factor three. The court also notes that despite being

advised at the Plea hearing of his right to do so (see Courtroom Recording of Plea (#130)),

defendant filed no objection to the court’s recommended acceptance of the Plea within the time


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              allowed, which bears on factor six. Finally, the court notes that defendant has requested and been

              allowed appointment of new counsel on two occasions and is now in the process of having a third

              attorney appointed. Nothing in this court’s record indicates that counsel was anything less than

              competent, which bears on factor four.

                      In any event, the court will deem the letter to be a Motion to Withdraw Plea and refer such

              request to the magistrate judge for determination as the magistrate judge has closely followed the

              development of this case, taken the plea, and heard defendant’s previous motions for appointment

              of new counsel.



                                                         ORDER

                      IT IS, THEREFORE, ORDERED that defendant’s letter (#169) is DEEMED to be a

              Motion to Withdraw Plea and is referred to Judge Cayer for hearing.



Signed: November 18, 2016




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